                         Case 3:20-mj-00137            Document 1         Filed 06/17/20       Page 1 of 1

AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.      3:20-mj-00137-1
                                                                   )
                JAMES DONALD COOLEY                                )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
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         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    May 18, 2020                in the county of             Columbia          in the
                       District of Oregon and elsewhere , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 1201(a)                             On or about May 18, 2020, defendant JAMES DONALD COOLEY did
                                                unlawfully seize, confine, inveigle, decoy, kidnap, abduct, and carry away a
                                                person, identified as LMS, and willfully transported her in interstate and
                                                foreign commerce from Illwaco, Washington, to Rainier, Oregon, and did hold
                                                her for ransom, reward and otherwise; In violation of Title 18, United States
                                                Code, 1201(a).



         This criminal complaint is based on these facts:
See attached affidavit of Special Agent Landon Berryman




         ✔ Continued on the attached sheet.
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                                                                                              (By phone)
                                                                                             Complainant’s signature

                                                                                    Special Agent Landon Berryman, FBI
                                                                                              Printed name and title

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               9:45

Date:        6/17/2020
                                                                                                Judge’s signature

City and state:                         Portland, Oregon                      STACIE F. BECKERMAN, U.S. Magistrate Judge
                                                                                              Printed name and title
